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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 7

    AKORN HOLDING COMPANY LLC,                               Case No. 23-10253 (KBO)
    et al 1
                    Debtors.                                 (Jointly Administered)

                                                             Objection Date:         April 6, 2023 at 4:00 p.m.
                                                             Hearing Date:           April 13, 2023 at 10:00 a.m.

    TRUSTEE’S APPLICATION FOR APPROVAL OF RETENTION OF GREENHILL &
         CO., LLC AS INVESTMENT BANKER AND FOR RELATED RELIEF

         George L. Miller, the duly appointed chapter 7 trustee (the “Trustee”) for the estates of the

above-captioned Debtors (collectively, the “Debtors” or “Estates”), pursuant to sections 105,

327(a), 328(a) and 363 of title 11 of the United States Code (the “Bankruptcy Code”), Federal

Rule of Bankruptcy Procedure 2014, and Rule 2014-1 of the Local Rules for the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), hereby applies (the

“Application”) for entry of an order (i) approving the retention of Greenhill & Co., LLC

(“Greenhill”) as the Trustee’s investment banker and (ii) approving the Trustee’s compensation

arrangement with Greenhill.            In support of the Application, the Trustee respectfully states as

follows:

                                       JURISDICTION AND VENUE

         1.       The United States Bankruptcy Court for the District of Delaware (the “Bankruptcy

Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,


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     The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers,
     and cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate
     Company LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-
     10255. The Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.



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dated as of February 29, 2012. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b),

and pursuant to Local Rule 9013-1(f), the Trustee consents to the entry of a Final Order by the

Bankruptcy Court in connection with this Application to the extent that it is later determined that

the Bankruptcy Court, absent the consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

                                         BACKGROUND

         2.       On February 23, 2023 (the “Petition Date”), each of the affiliated Debtors Akorn

Holding Company LLC, Case No. 23-10253; Akorn Intermediate Company LLC, Case No. 23-

10254 and Akorn Operating Company, LLC, Case No. 23-10255 (collectively the “Bankruptcy

Cases”) filed a voluntary petition in the Bankruptcy Court for relief under chapter 7 of the

Bankruptcy Code.

         3.       On or about the Petition Date, the Office of the United States Trustee appointed

George L. Miller as the chapter 7 Trustee to the Estates of each of the Debtors.

         4.       On March 20, 2023 an Order was entered by this Court Directing Joint

Administration and Procedural Consolidation of Cases [Doc. No. 42] directing procedural

consolidation and joint administration of the Bankruptcy Cases with the bankruptcy case of Akorn

Holding Company LLC, Case No. 23-10253.

         5.       The Debtors’ businesses included developing, manufacturing, and marketing

specialty pharmaceuticals, including prescription, consumer health, and animal health products.

The Debtors were an industry leader in branded and generic products in alternate dosage forms

such as ophthalmics, injectables, oral liquids, topicals, inhalants and nasal sprays. The Debtors

operated at numerous locations in the United States, both owned and leased, and were

headquartered in Gurnee, Illinois.



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         6.       The Debtors’ operations in the U.S. have all ceased. However, their Swiss affiliate,

non-Debtor Akorn AG, continues to operate. Debtor Akorn Operating Company LLC owns 100%

of the equity in Akorn International S.á.r.l, a non-debtor based in Luxembourg.                    Akorn

International S.á.r.l, in turn, owns 100% of the equity in Akorn AG.

         7.       To date, the Debtors have not filed their respective schedules, statements, and other

documents required to be filed in the Bankruptcy Cases pursuant to Bankruptcy Rule 1007(b)(1)

(the “Schedules and Documents”) and it is uncertain whether the Debtors have the ability to file

such Schedules and Documents.

         8.       Prior to the Petition Date, the Debtors had retained Greenhill as investment banker

to explore the possibility of selling substantially all of their businesses. The Debtors were unable

to obtain a satisfactory offer for the purchase of their businesses as a going concern, and filed these

Bankruptcy Cases shortly thereafter.

         9.       The Trustee requires an investment banker to conduct a sale process for assets of

the Estates. Following arm’s length negotiations, the Trustee and Greenhill have agreed upon the

terms and conditions that would govern Greenhill’s employment as investment banker to the

Estates, as set out in the engagement agreement dated March 10, 2023, a copy of which is attached

to this Application as Exhibit “A” (the “Engagement Agreement”).                   The Trustee hereby

incorporates the Engagement Agreement by reference. A summary of certain material terms of

the Engagement Agreement is provided below.2

                                       RELIEF REQUESTED

         10.      Pursuant to sections 105, 327(a), 328(a) and 363 of the Bankruptcy Code, the

Trustee seeks to retain and compensate Greenhill as his investment banker in accordance with the


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 In the event of any inconsistency between this Application and the Engagement Agreement, the terms of the
Engagement Agreement shall govern.

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terms and conditions of the Engagement Agreement, effective as of March 10, 2023. The Trustee

submits this Application in reliance upon the Declaration of Neil A. Augustine (the “Augustine

Declaration”), a copy of which is attached hereto as Exhibit “B.”

                                    APPLICABLE AUTHORITY

         11.      Section 327(a) of the Bankruptcy Code provides that a trustee, subject to court

approval, “may employ one or more attorneys, accountants, appraisers, auctioneers, or other

professional persons, that do not hold or represent an interest adverse to the estate, and that are

disinterested persons, to represent or assist the [debtor] in carrying out the [debtor]’s duties under

this title.” 11 U.S.C. § 327(a).

         12.      Additionally, under section 328(a) of the Bankruptcy Code, the Trustee, “with the

court’s approval, may employ or authorize the employment of a professional person under section

327 . . . on any reasonable terms and conditions of employment, including on a retainer, on an

hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.” 11 U.S.C. § 328(a).

Accordingly, section 328 of the Bankruptcy Code permits the compensation of professionals,

including investment bankers, on more flexible terms that reflect the nature of their services and

market conditions.

         13.      Bankruptcy Rule 2014 further requires that an application for retention of a

professional person include:

                  [S]pecific facts showing the necessity for the employment, the name
                  of the person to be employed, the reasons for the selection, the
                  professional services to be rendered, any proposed arrangement for
                  compensation, and, to the best of the applicant's knowledge, all of
                  the person’s connections with the debtor, creditors, any other party
                  in interest, their respective attorneys and accountants, the United
                  States trustee, or any person employed in the office of the United
                  States trustee.

Fed R. Bank. P. 2014(a).


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         14.      In addition, Local Rule 2014-1 provides, “Any entity seeking approval of a

professional person pursuant to 11 U.S.C. § 327 . . . shall file with the Court a motion, a supporting

affidavit or verified statement of the professional person and a proposed order for approval.”

                                    BASIS FOR RELIEF REQUESTED

         A.       Greenhill’s Qualifications

         15.      The Trustee requires a qualified and experienced investment banker with the

resources, capabilities and experience of Greenhill to assist him in maximizing the value of the

Estates. The Trustee believes that retaining Greenhill as his investment banker is in the best

interest of the Estates and creditors because, among other things, Greenhill has extensive

experience in, and an excellent reputation for, providing investment banking and financial advisory

services to bankruptcy estate fiduciaries.

         16.      As set forth in the Augustine Declaration, Greenhill and its senior professionals

have extensive expertise providing investment banking services to financially distressed

companies, creditors, committees, equity holders, asset purchasers, and other constituencies in

reorganization proceedings and complex financial restructurings, both in and out of court.

Greenhill and its professionals have extensive experience in advising various parties in interest

and constituencies in bankruptcy proceedings and have served as investment banker to numerous

debtors and creditors in restructurings involving, among others: American Commercial Lines, Inc.;

American Roads LLC; AMR Corporation; BearingPoint, Inc.; Atlantic Express Transportation

Group; Answers Corporation; Avaya Inc.; Blockbuster Inc.; Cengage Learning, Inc.; Cenveo, Inc.;

Chrysler, LLC; Cirque du Soleil Canada Inc.; Clover Technologies Group, LLC; David’s Bridal,

Inc.; Delphi Corp.; Destination Maternity Corporation; Energy Future Holdings; EXCO

Resources, Inc.; Fairpoint Communications, Inc.; Fairway Group Holdings; Fusion Connect Inc.;


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General Growth Properties, Inc.; Genco Shipping & Trading Limited; Global Geophysical

Services, Inc.; Global Eagle Entertainment Inc.; GT Advanced Technologies Inc.; The Gymboree

Corporation; Harry & David Holdings, Inc.; Hawker Beechcraft, Inc.; Inner City Media

Corporation; InnovativeCommunication Corporation; LATAM Airlines Group S.A.; LifeCare

Holdings, LLC; Lyondell Chemical Company; M&G USA Corporation; Milacron Holdings Inc.;

Momentive Performance Materials; Motor Coach Industries International, Inc.; MTE Holdings

LLC; Nassau Broadcasting Partners, L.P., New World Pasta Company; Performance Sports Group

Ltd.; Quebecor World, Inc.; Refco Inc.; rue21 Inc.; Sbarro Inc.; Skillsoft Corporation; Sports

Authority Holdings, Inc.; The Roman Catholic Diocese of Rockville Centre, New York; Trident

Resources Corp.; Trump Entertainment Resorts, Inc.; VeraSun Energy Corporation; Werner Co.

and WestPoint Stevens Inc.3

           17.      Importantly, Greenhill has already served as investment banker in connection with

the Debtors’ prepetition efforts to consummate a sale of their businesses as a going concern. As

set forth in the Augustine Declaration, Greenhill has worked closely with the Debtors, their

management, and their other advisors and has become well acquainted with, among other things,

the Debtors’ business, assets and capital structure. The professionals at Greenhill are also well

acquainted with the market for the Debtors’ assets and have been in regular contact with potential

purchasers.

           18.      Accordingly, the Trustee believes Greenhill is uniquely suited to provide the

investment banking services that are contemplated by the Engagement Agreement and described

herein.




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    Includes engagements while professionals were employed at other firms than Greenhill.

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         B.       Greenhill’s Disinterestedness

         19.      To the best of the Trustee’s knowledge, information, and belief, and based upon the

attached Augustine Declaration: (i) Greenhill is a “disinterested person” within the meaning of

section 101(14) of the Bankruptcy Code and as required by section 327(a), and holds no interest

materially adverse to the Trustee, the Debtors, the Estates, the creditors, and/or the equity interest

holders regarding the matters for which Greenhill is to be employed; and (ii) Greenhill has no

connection to the Trustee, the Debtors, the Estates, the creditors, the equity interest holders, and/or

to any related parties, except as may be disclosed in the Augustine Declaration. Moreover, the

retention and employment of Greenhill is necessary, and is in the best interests of the Estates and

creditors.

         C.       Scope of Services

         20.      The Engagement Agreement governs the relationship between Greenhill and the

Trustee.       Pursuant to the Engagement Agreement, Greenhill will render the services set forth

below, to the extent the Trustee deems necessary, as appropriate and feasible:

                  a. Assist the Trustee in preparing marketing materials (based entirely on
                     information supplied by the Trustee and the Debtors) for distribution to
                     potential Acquirers (as defined in the Engagement Agreement), which materials
                     shall not be made available to or used in discussions with any person or entity
                     (including potential Acquirers) until both it and its use for that purpose have
                     been approved by the Trustee;

                  b. Assist the Trustee in arranging for potential Acquirers to conduct business
                     investigations;

                  c. Assist the Trustee in coordinating and maintaining a data room and assisting in
                     other diligence and process matters including site visits;

                  d. Assist the Company in raising, structuring and effecting debtor-in-possession
                     financing;

                  e. Provide advice and coordinate with the Trustee and counsel to develop a
                     strategy for any Transaction and other transactions, as applicable and mutually
                     agreed by the Trustee and Greenhill;

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                  f. Assist the Trustee and its other professionals in reviewing the terms of any
                     proposed Transaction;

                  g. Assist or participate in negotiations with the parties in interest, including,
                     without limitation, any potential Acquirers, and any current or prospective
                     creditors of the Debtors and/or their respective representatives in connection
                     with a Transaction;

                  h. If requested by the Trustee, participate in hearings before Bankruptcy Court
                     and provide relevant testimony with respect to Greenhill's services and the
                     matters described herein, as well as issues arising in connection with Greenhill's
                     area of expertise concerning a Transaction; and

                  i. Provide such other general advisory services and investment banking services
                     as are customary for similar transactions and as may be mutually agreed upon
                     by the Trustee and Greenhill,

(each, a “Service” and together, the “Services”). For the avoidance of doubt, Greenhill will not be

responsible for advising on or assisting in the sale or disposition of inventory or accounts

receivable.

          D.      Compensation

          21.     Subject to Court approval, and in accordance with the Bankruptcy Code, the

Bankruptcy Rules and the Local Rules, the Trustee will compensate Greenhill in accordance with

the terms and provisions of the Engagement Agreement, which provides a compensation structure

(the “Fee and Expense Structure”) in relevant part as follows:

                  a. Monthly Advisory Fee. A non-refundable financial advisory fee of $150,000
                     per month (the “Monthly Advisory Fee”), which shall accrue on a monthly basis
                     in advance, beginning as of March 10, 2023; provided that the initial and final
                     Monthly Advisory Fee will be pro-rated for any incomplete monthly period of
                     service. Any accrued and unpaid Monthly Advisory Fees shall be payable
                     promptly in aggregate upon the closing of any Transaction.4

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    The term “Transaction” is defined in the Engagement Agreement as follows:

                  (i) any sale or disposition by any of the Debtors to an Acquiror (as defined
                  below) of all or a portion of the assets (including through the assignment of
                  any executory contracts) or operations of the Debtors or, (ii) the acquisition,
                  directly or indirectly, by one or more Acquirers (or by one or more persons

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                  b. Transaction Fee. If, at any time during the Fee Period (as defined in the
                     Engagement Agreement), either (a) any Transaction is consummated or (b) a
                     definitive agreement to effect any Transaction is entered into, and a Transaction
                     with the party to such definitive agreement (or an affiliate thereof) is eventually
                     consummated at any time thereafter (including following the expiration of the
                     Fee Period), in either case, Greenhill shall be entitled to receive a transaction
                     fee (the “Transaction Fee”) payable upon consummation of the Transaction,
                     equal to:

                         i. $500,000 with respect to the first $25,000,000 in Aggregate Proceeds (as
                            defined in Schedule B of the Engagement Agreement) paid to the Debtors
                            or its security holders in respect of all Transactions during the Fee Period;

                        ii. 3.0% of the second $25,000,000 in Aggregate Proceeds paid to the
                            Debtors or its security holders in respect of all Transactions during the
                            Fee Period;

                       iii. 3.5% of the third $25,000,000 in Aggregate Proceeds paid to the Debtors
                            or its security holders in respect of all Transactions during the Fee Period;
                            and

                        iv. 4.0% of any additional Aggregate Proceeds paid to the Debtors or its
                            security holders in respect of all Transactions during the Fee Period.

         22.      In addition to any fees that may be paid to Greenhill under the Engagement

Agreement, the Engagement Agreement also provides that the Estates shall reimburse Greenhill

for its reasonable and documented out-of-pocket expenses, including the reasonable and

documented fees, disbursements and other charges of Greenhill’s counsel (without the requirement

that the retention of such counsel be approved by the Bankruptcy Court); provided, however, that



                  acting together with an Acquirer pursuant to a written agreement or
                  otherwise), as defined below, whether in a single transaction, multiple
                  transactions or a series of transactions, of all or a portion of the assets
                  (including through the assignment of any executory contracts) or operations
                  of the Debtors. The sale or disposition by the Debtors of any Inventory or
                  Accounts Receivable to an Acquiror as a stand-alone transaction shall not be
                  deemed a Transaction. For the avoidance of doubt, a "Transaction" shall result
                  in a Transaction Fee as long as Greenhill was involved in the marketing or
                  consummation of the Transaction for either clause (i) or (ii) above.

Engagement Agreement at ¶ 3.

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such expenses shall not exceed $75,000 in the aggregate for this engagement without the consent

of the Trustee (the “Expense Cap”).

         23.      During the pendency of these cases, Greenhill shall apply to the Court for the

allowance of compensation for professional services rendered and reimbursement of expenses in

accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

Local Rules, and any other applicable procedures and orders of the Court and consistent with the

Fee and Expense Structure.

         24.      The Trustee requests that the Bankruptcy Court approve the Fee and Expense

Structure under section 328(a) of the Bankruptcy Code. The Fee and Expense Structure described

above was negotiated at arms’ length, and the Trustee believes that it constitutes fair and

reasonable terms and conditions for the retention by the Trustee of Greenhill as his investment

banker in accordance with sections 327(a) and 328(a) of the Bankruptcy Code. The Trustee

believes that the Fee and Expense Structure is comparable to compensation generally charged by

other firms of similar stature to Greenhill for comparable engagements, both in and out of

bankruptcy. The Trustee also has been advised by Greenhill that the Fee and Expense Structure is

consistent with Greenhill’s normal and customary billing practices for cases of this size and

complexity, which require the level and scope of the Services outlined. Additionally, the Fee and

Expense Structure was established to reflect the difficulty of the extensive assignments Greenhill

expects to undertake, as well as the potential for failure.

         25.      The Trustee thus believes that the Fee and Expense Structure is reasonable,

adequately reflecting: (i) the nature of the services to be provided by Greenhill and (ii) fee and

expense structures and indemnification provisions typically utilized by Greenhill and other leading

investment banking firms, which do not bill their time on an hourly basis and generally are



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compensated on a transactional basis. In particular, the Trustee believes the Fee and Expense

Structure creates a proper balance between fixed monthly fees and contingency fees based on the

successful closing of a Transaction and the overall success of these Bankruptcy Cases. Moreover,

Greenhill’s substantial experience with respect to investment banking services, coupled with the

nature and scope of work already performed by Greenhill before the Petition Date, further supports

the reasonableness of the Fee and Expense Structure.

         26.      Accordingly, the Trustee believes that this Court should approve Greenhill’s

retention subject solely to the standard of review set forth in section 328(a) of the Bankruptcy

Code and that Greenhill’s compensation should not be subject to any additional standard of review,

including under section 330 of the Bankruptcy Code.

         E.       Indemnification

         27.      As part of its overall compensation to Greenhill, the Engagement Agreement

provides that the Estates shall indemnify Greenhill and its professionals and affiliates in connection

with the Services rendered in these Bankruptcy Cases from and against losses, claims or

proceedings, including, without limitation, stockholder actions, damages, judgments, assessments,

investigation costs, settlement costs, fines, penalties, arbitration awards and any other liabilities

and costs and reasonable documented out-of-pocket fees and expenses, except to the extent that

such losses or claims arose primarily because of gross negligence, bad faith or willful misconduct

(the “Indemnification Provision”).

         28.      The Trustee believes that the Indemnification Provision is customary and

reasonable for investment banking engagements, both in and out-of-court. Approval of the

Indemnification Provision is also warranted under section 328 of the Bankruptcy Code, which




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allows a debtor, with the Court’s approval, to employ “a professional person under section 327…of

this title…on any reasonable terms and conditions of employment.” 11 U.S.C. § 328(a).

                          FEE APPLICATIONS AND RECORD KEEPING

         29.      The Trustee has been advised by Greenhill that it is not the general practice of

investment banking and financial services firms to keep detailed time records similar to those

customarily kept by attorneys, nor do such investment banking and financial services firms keep

time records on a “project category” basis. Notwithstanding the foregoing, Greenhill intends to

file interim and final fee applications for the allowance of compensation for services rendered and

reimbursement of expenses incurred in accordance with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures or

orders of the Court. Greenhill’s fee applications for allowance of its compensation and expenses

will be paid by the Trustee as authorized by this Court. Finally, the Trustee requests authority to

pay Greenhill’s reasonable and documented expenses each month without further order of this

Court, up to the amount of the Expense Cap.

         30.      Greenhill’s applications will include time records setting forth, in a summary

format, a description of the services rendered by each Greenhill professional and the amount of

time spent on each date by each such individual in rendering services on behalf of the Estates.

Because Greenhill does not ordinarily maintain contemporaneous time records in one-tenth-hour

(.1) increments or provide or conform to a schedule of hourly rates for its professionals, Greenhill

will file time records in half-hour (.5) increments. Greenhill’s professionals shall not be required

to keep time records on a “project category” basis and shall not be required to provide or conform

to any schedule of hourly rates. Greenhill will also maintain detailed records of any actual and

necessary costs and expenses incurred in connection with the services discussed above. Greenhill’s



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applications for compensation and expenses will be paid by the Estates upon approval by this

Court. To the extent that Greenhill’s time keeping process as described herein deviates from what

would otherwise be required under Local Rule 2016-2(d), the Trustee respectfully requests that

the Court allow such deviations pursuant to Local Rule 2016-2(h) and waive any requirements to

the contrary.

         31.      Greenhill has not shared or agreed to share any compensation to be paid by the

Estates with any other person, other than principals and employees of Greenhill, in accordance

with section 504 of the Bankruptcy Code.

                                               NOTICE

         32.       Notice of this Application, together with a copy of this Application, will be given

to the following parties (the “Notice Parties”): (i) the Office of the United States Trustee;

(ii) counsel for the Debtors; (iii) the ABL Administrative Agent, (iv) the TL Administrative Agent,

(v) known counsel to the ABL Lenders; (vi) known counsel for TL Lenders; and (vii) all parties

who have requested notice pursuant to Rule 2002. In light of the nature of the relief requested, the

Trustee submits that no further notice need be given.

         WHEREFORE, the Trustee respectfully requests that the Court enter an Order in

substantially the attached form: (i) granting the relief requested in this Application; (ii) authorizing

him to retain and compensate Greenhill as investment banker as provided in the Engagement

Agreement, effective as of March 10, 2023; (iii) approving the terms and conditions of the

Engagement Agreement; (iv) authorizing the Trustee to enter into the Engagement Agreement and




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take such actions as may be necessary to carry out his duties under the Engagement Agreement;

and (v) granting any such further relief as may be appropriate.


Dated: March 22, 2023                        COZEN O’CONNOR


                                              /s/ John T. Carroll, III
                                             John T. Carroll, III (No. 4060)
                                             Simon E. Fraser (No. 5335)
                                             1201 N. Market St., Ste. 1001
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                                             Proposed Counsel for the Trustee,
                                             George L. Miller




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